     Case 4:18-cr-06054-EFS      ECF No. 289       filed 04/05/22   PageID.7499 Page 1 of 36



 1 ALAN ELLIS
   P.A. Bar No. 17430
 2 Pro Hac Vice Pending
   Law Offices of Alan Ellis
 3 PA Bar No. 17430
   35501 South Highway 1, Unit 150
 4 Gualala, CA 95445-9553
   Telephone: 415-895-5076
 5 Email: AELaw1@AlanEllis.com

 6 JEFFRY K. FINER
   WA. Bar No. 14610
 7 KSB Litigation
   510 W Riverside Ave Ste 300
 8 Spokane, WA 99201-0515
   Telephone: (509) 666-2835
 9 Email: jfiner@ksblit.legal

10 Attorneys for Defendant
   SAMI ANWAR
11

12                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF WASHINGTON
13

14   UNITED STATES OF AMERICA,                        CASE NO. 4:18-CR-06054-EFS-1
15                              Plaintiff,            EMERGENCY MOTION FOR COMPASSIONATE
                                                      RELEASE (COVID-19); MEMORANDUM OF
16                        v.                          POINTS & AUTHORITIES IN SUPPORT
17   SAMI ANWAR,                                      COURT: Hon. Edward F. Shea
18                             Defendant.
19

20                             Defendant Sami Anwar’s
21               Emergency Motion for Compassionate Release (COVID-19)
22

23

24

25

26

27

28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE      1
       Case 4:18-cr-06054-EFS                        ECF No. 289              filed 04/05/22            PageID.7500 Page 2 of 36


                                                                 TABLE OF CONTENTS
 1
      TABLE OF AUTHORITIES ...................................................................................................................... 3
 2
      MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT ........................................................ 10
 3
      I.       Pertinent Background and Procedural History ................................................................................. 10
 4
      II.     LEGAL AUTHORITY GOVERNING COMPASSIONATE RELEASE ....................................... 11
 5
            A. Exhaustion..................................................................................................................................... 11
 6          B. Section 1B1.13 of the U.S. Sentencing Guidelines Does Not Preclude Relief .............................. 12
 7 III. EXTRAORDINARY AND COMPELLING REASONS WARRANTING RELIEF...................... 14

 8    A. The Pandemic................................................................................................................................ 14
      B. FCI Sheridan ................................................................................................................................. 25
 9
      C. Mr. Anwar Has Served Sufficient Time......................................................................................... 27
10    D. Mr. Anwar is at Risk of Severe Illness or Death from COVID-19 ................................................ 29
11    E. Mr. Anwar Presents No Current Danger to the Community ........................................................ 32
      F. Violent Offenders and Sex Offenders Have Received Compassionate Release ............................ 33
12
   IV. CONCLUSION ................................................................................................................................. 34
13
   CERTIFICATE OF SERVICE ................................................................................................................. 36
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

           EMERGENCY MOTION FOR COMPASSIONATE RELEASE                              2
        Case 4:18-cr-06054-EFS                      ECF No. 289              filed 04/05/22            PageID.7501 Page 3 of 36


                                                             TABLE OF AUTHORITIES
 1
                                                                               Cases
 2
       Halgren v. City of Naperville, No. 21-cv-05039, 2021 U.S. Dist. LEXIS
 3        241777, *9-12 (N.D. Ill.) .................................................................................................................... 19
 4 Ruderman v. Kolitwenzew, No. 20-cv-2082, 2020 U.S. Dist. LEXIS
       83163, *5-6 (C.D. Ill. May 12, 2020) ................................................................................................. 12
 5
   Stirling v. BOP, et al., 3:20-cv-00712-SB (D. Or. Aug. 13, 2021)........................................................... 26
 6
   Stirling v. BOP, et al., 3:20-cv-00712-SB (D. Or. Oct. 20, 2020) .............................................................. 6
 7
   United States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021) ...................................................................... 10
 8
   United States v. Bryant, 996 F.3d 1243, 1265 n.1 (11th Dist. May 7, 2021) ............................................. 9
 9
   United States v. Fields, No. 12-cr-20274, 2020 U.S. Dist. LEXIS 229692,
10     2020 WL 7225775 (E.D. Mich. Dec. 8, 2020) ................................................................................... 30
11 United States v. Garlock, No. 18-cr-00418, 2020 U.S. Dist.
     LEXIS 53747, *1-*2, 2020 WL 1439980 (N.D. Cal. Mar. 25,
12   2020) .................................................................................................................................................. 29
13 United States v. Holden, No. 2:16-cr-9, 2020 U.S. Dist. LEXIS 205520, *4
      (N.D. Ga. Aug. 18, 2020).................................................................................................................... 31
14
   United States v. Huang, No. 19-cr-00110, 2020 U.S. Dist. LEXIS
15    58355, *1-*2, 2020 WL 1540483 (N.D. Cal. Mar. 27, 2020) .................................................. 29
16 United States v. Jacques, No. 16-20759, 2021 U.S. Dist. LEXIS 146709,
      2021 WL 3422356 (E.D. Mich. Aug. 5, 2021) ................................................................................... 30
17
   United States v. Keller, 2 F.4th 1278, 1281 (9th Cir. 2021) ....................................................................... 9
18
   United States v. Magnuson, 15-cr-50095, 2020 U.S. Dist. LEXIS 233817,
19    2020 WL 7318109 (D.S.D. Dec. 11, 2020) ........................................................................................ 30
20 United States v. Miller, No. 17-cr-404, 2020 U.S. Dist. LEXIS 241244,
      2020 WL 7641289 (N.D. Ill. Dec. 22, 2020) ...................................................................................... 30
21
   United States v. Murry, No. 1:15-cr-00153, 2021 U.S. Dist. LEXIS 38121,
22    *15, 2021 WL 795451 (S.D. Ind. Mar. 2, 2021)................................................................................. 10
23 United States v. Powell, No. 19-cr-00061, 2020 U.S. Dist. LEXIS
      62077, *1-*2, 2020 WL 1540485 (N.D. Cal. Mar. 27, 2020) .................................................. 29
24
   United States v. Raymonde, No. 11-cr-000490, 2021 U.S. Dist. LEXIS
25    208092, 2021 WL 5014499 (D. Colo Oct. 28, 2021) ......................................................................... 30
26 United States v. Wheelock, No. 13-136, 2021 U.S. Dist. LEXIS 99684,
      2021 WL 2143136 (D. Minn. May 26, 2021) ..................................................................................... 30
27
                                                                     Statutes
28
   18 U.S.C. § 1341 ..................................................................................................................................... 8, 9
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE                            3
        Case 4:18-cr-06054-EFS                       ECF No. 289               filed 04/05/22             PageID.7502 Page 4 of 36


       18 U.S.C. § 1349 ..................................................................................................................................... 8, 9
 1
       18 U.S.C. § 1359 ......................................................................................................................................... 8
 2
       18 U.S.C. § 3582 (c)(1)(A)(i) ..................................................................................................................... 6
 3
       18 U.S.C. § 3621 ................................................................................................................................... 7, 31
 4
       21 U.S.C. § 843 ....................................................................................................................................... 8, 9
 5
       28 U.S.C. § 944 ......................................................................................................................................... 31
 6
                                                                       Other Authorities
 7
       “Tracking Coronavirus: Yamhill County, Ore.,” NY Times, updated Apr.
 8        3, 2021................................................................................................................................................. 27
 9 Alexander Tin, South Africa Investigates "Sharp Increase" in Hospitalized
      Children with COVID, CBS News, Dec. 3, 2021 ............................................................................... 17
10
   Annabelle Timsit and Lateshia Beachum, Unvaccinated Houston Man’s
11    Death May be First Attributed to Omicron in U.S., Wash. Post, Dec.
      21, 2021............................................................................................................................................... 18
12
   Antony Sguazzin, J&J Shot Loses Antibody Protection Against Omicron
13    in Study, Bloomberg, Dec. 15, 2021 ................................................................................................... 18
14 Apoorva Mandavilli, NY Times, “Reaching ‘Herd Immunity’ Is Unlikely
      in the U.S., Experts Now Believe,” May 3, 2021 ............................................................................... 14
15
   Apoorva Mandavilli, Omicron Variant Spreading Twice as Quickly as
16    Delta in South Africa, NY Times, Dec. 3, 2021 ................................................................................. 16
17 Assistant Director for Correctional Programs Division Andre
      Matevousian’s memorandum issued on April 13, 2021 ......................................................... 22
18
   Attorney General Barr’s memoranda issued on March 25, 2020,
19    and April 3, 2020............................................................................................................................. 22
20 BOP, COVID-19 Coronavirus, “Coronavirus Vaccine Implementation,” ............................................... 21

21 BOP, Inmate Age ...................................................................................................................................... 21

22 Caitlyn Owens, Biden Official Warns: COVID Explosion Imminent,
      Axios, Dec. 14, 2021........................................................................................................................... 16
23
   Carolyn Y. Johnson, Pfizer’s Anti-Covid Pill Prevents Severe Illness and
24    Should Work against Omicron, Company Says, Wash. Post, Dec. 14,
      2021..................................................................................................................................................... 17
25
   CDC, Media Statement, CDC Recommends Additional Boosters for
26    Certain Individuals ....................................................................................................................... 18, 21
27 CDC, Trends in Number of COVID-19 Cases and Deaths in the US
     Reported to CDC, by State/Territory .................................................................................................. 14
28

          EMERGENCY MOTION FOR COMPASSIONATE RELEASE                                 4
        Case 4:18-cr-06054-EFS                       ECF No. 289               filed 04/05/22            PageID.7503 Page 5 of 36


       David Knowles, Fauci: 'Dangerous' to Assume Omicron's Apparent
 1        Mildness Means the End of the Pandemic is in Sight, Yahoo News,
          Dec. 22, 2021 ...................................................................................................................................... 17
 2
       Eddie Burkhalter, et al., Incarcerated and Infected: How the Virus Tore
 3        Through the U.S. Prison System (Apr. 10, 2021) ............................................................................... 16
 4 Emily Anthes, Delta, As Expected, is Now the Dominant Virus Variant in
      the U.S., the C.D.C. Estimates, NY Times, July 14, 2021 .................................................................. 16
 5
   Federal Bureau of Prisons Clinical Guidance at 1, Oct. 13, 2021........................................................... 21
 6
   GAO, BOP Could Further Enhance its COVID19 Response by Capturing
 7    and Incorporating Lessons Learned 23 (July 2021) ........................................................................... 25
 8 Gretchen Vogel, COVID-19 Reinfection Study from South Africa Yields
       Ominous Data About Omicron, Science, Dec. 4, 2021 ...................................................................... 16
 9
   Hilary Brueck and Shayanne Gal, Rapid Tests Do Not Always Detect
10     Omicron — Here’s How to Know for Sure If You've Got COVID-19 or
       Not, BusinessInsider, Dec. 23, 2021 ................................................................................................... 20
11
   Jake Ellison, COVID-19: UW Study Reports ‘Staggering’ Death Rate in
12     US Among Those Infected Who Show Symptoms, UW News (May 18,
       2020) ................................................................................................................................................... 15
13
   Joe Hilton, et al., Estimation of country-level basic reproductive ratios for
14     novel Coronavirus (SARS-CoV-2/COVID-19) using synthetic contact
       matrices, 16(7) PLoS Comput. Biol. (July 2020) ............................................................................... 15
15
   Joseph Guzman, New Study Finds Coronavirus Can Cut Life Span by 10
16     Years or More, The Hill, May 11, 2020 ............................................................................................. 15
17 Kathryn Krawczyk, The Week, Even Mild Coronavirus Cases Can Cause
      Lasting Cardiovascular Damage, Study Shows (July 28, 2020) ........................................................ 15
18
   Kent Sepkowitz, Omicron is a Game-Changer for Covid-19 Vaccines,
19    CNN, Dec. 24, 2021 ............................................................................................................................ 16
20 Lena H. Sun, et al., Omicron spreading rapidly in U.S. and could bring
      punishing wave as soon as January, CDC warns, Wash. Post, Dec. 14,
21    2021..................................................................................................................................................... 17
22 Liesl M. Hagan, MPH, et al., “Outbreak of SARS-CoV-2 B.1.617.2
      (Delta) Variant Infections Among Incarcerated Persons in a Federal
23    Prison — Texas, July–August 2021,” CDC, MMWR, September 24,
      2021 / 70(38);1349–1354 .................................................................................................................... 26
24
   Lisa B. Puglisi, M.D., et al., Estimation of COVID-19 Basic Reproduction
25    Ration in a Large Urban Jail in the United States, 53 Ann. Epidemol.
      103-105 (Jan. 2021) ............................................................................................................................ 15
26
   Ludwig Berger & Michael Erman, Pfizer, BioNTech Vaccine Neutralises
27    Omicron with Three Shots, Reuters, Dec. 8, 2021 .............................................................................. 18
28 Maggie Fox, Studies Confirm Waning Immunity from Pfizer's Covid-19
     Vaccine, CNN, Oct. 7, 2021 ............................................................................................................... 21
    EMERGENCY MOTION FOR COMPASSIONATE RELEASE                 5
       Case 4:18-cr-06054-EFS                       ECF No. 289              filed 04/05/22           PageID.7504 Page 6 of 36


       Miguel Escalante, et al. v. U.S. Immigration and Customs Enforcement, et
 1        al., 1:22-cv-00541-RJL (D.D.C. March 1, 2022) ............................................................................... 19
 2 Mike Stobbe, Omicron Sweeps Across Nation, Now 73% of New US
      COVID Cases, AP, Dec. 21, 2021 ...................................................................................................... 18
 3
   Moderna CEO Says Vaccines Likely Less Effective Against Omicron,
 4    Reuters, Nov. 30, 2021 ....................................................................................................................... 17
 5 Nancy Lapid, Vaccines Appear Weak at Blocking Omicron, Better Against
      Severe Disease, Reuters, Dec. 14, 2021.............................................................................................. 18
 6
   Nathan Jeffay, Israeli Study Finds 2 Pfizer Shots Fail to Neutralize
 7    Omicron, but Booster Effective, The Times of Israel, Dec. 12, 2021 ................................................. 18
 8 Ofc. of Insp. Gen., Dep’t of Justice, Review of the Federal Bureau of
      Prisons’ Medical Staffing Challenges i-ii (Mar. 2016) ...................................................................... 31
 9
   Ofc. of Insp. Gen., Dep’t of Justice, The Impact of an Aging Inmate
10    Population on the Federal Bureau of Prisons i (Rev. Feb. 2016) ...................................................... 31
11 Program Statement 5050.50, Compassionate Release/Reduction
      in Sentence: Procedures for Implementation of 18 U.S.C. §§
12    3582(c)(1)(A) and 4205(g) .............................................................................................................. 22
13 Reinfections Three Times More Likely with Omicron: S. African Research,
       AFP, Dec. 2, 2021 ............................................................................................................................... 17
14
   Robert Towey, NIH Director Urges Vaccinated Americans to Get Covid
15     Booster Shots to Curb Breakthrough Infections Over Holidays, CNBC,
       Nov. 9, 2021 ........................................................................................................................................ 21
16
   Statement of Michael E. Horowitz, Inspector General, U.S. Dept. of
17     Justice before the U.S Sentencing Commission at 3 (Feb. 17, 2016) ................................................. 13
18 Study: Omicron could be more transmissible due to sharing genetic
      material with common cold, Yahoo News, Dec. 4, 2021 ................................................................... 17
19
   Thomas R. Frieden, former Dir. of the CDC, The Atlantic, COVID-19 Is
20    Out Of Control. What Can We Do About It? (Nov. 13, 2020) ........................................................... 14
21 Tracking COVID-19 Variant Omicron, BNO News................................................................................. 16

22 U.S. Dep’t of Justice, Ofc. of Insp. Gen., Pandemic Response Oversight--
      Dashboards of COVID-19 Cases ........................................................................................................ 26
23
   U.S. Probation Monograph ....................................................................................................................... 34
24
   U.S. Sentencing Comm’n, Compassionate Release: The Impact of the
25    First Step Act and COVID-19 Pandemic 2 (Mar. 2022) ..................................................................... 13
26 U.S. Sentencing Comm’n, The First Step Act of 2018—One Year of
      Implementation at 47 (Aug. 2020) ...................................................................................................... 12
27
   U.S. Sentencing Commission, Compassionate Release Data Report tbl. 1
28    (Sept. 2021) ......................................................................................................................................... 23

         EMERGENCY MOTION FOR COMPASSIONATE RELEASE                               6
       Case 4:18-cr-06054-EFS                        ECF No. 289               filed 04/05/22             PageID.7505 Page 7 of 36


      U.S. Sentencing Commission’s 2021 Sourcebook on Federal Sentencing
 1       Statistics .............................................................................................................................................. 28
 2 USA Facts, US Coronavirus Vaccine Tracker ......................................................................................... 14

 3 Walter Pavlo, Forbes, Bureau of Prisons Begins Implementing First Step
     Act with Release Of Thousands In Custody, Jan. 22, 2022 ................................................................. 22
 4
   World Health Organization, COVID-19 Weekly Epidemiological Update,
 5   Mar. 29, 2022 ...................................................................................................................................... 20
 6 World Health Organization, Update on Omicron, Nov. 28, 2021 ............................................................ 16

 7 Worldometer, COVID-19 Coronavirus Pandemic ................................................................................... 14

 8                                                                          Guidelines
 9 USSG §1B1.13.......................................................................................................................................... 12

10 USSG App. C, Amend. 799 ...................................................................................................................... 13

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

         EMERGENCY MOTION FOR COMPASSIONATE RELEASE                                 7
     Case 4:18-cr-06054-EFS        ECF No. 289     filed 04/05/22    PageID.7506 Page 8 of 36



 1 ALAN ELLIS
   P.A. Bar No. 17430
 2 Pro Hac Vice Pending
   Law Offices of Alan Ellis
 3 PA Bar No. 17430
   35501 South Highway 1, Unit 150
 4 Gualala, CA 95445-9553
   Telephone: 415-895-5076
 5 Email: AELaw1@AlanEllis.com

 6 JEFFRY K. FINER
   WA. Bar No. 14610
 7 KSB Litigation
   510 W Riverside Ave Ste 300
 8 Spokane, WA 99201-0515
   Telephone: (509) 666-2835
 9 Email: jfiner@ksblit.legal

10 Attorneys for Defendant
   SAMI ANWAR
11

12                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF WASHINGTON
13

14   UNITED STATES OF AMERICA,                         CASE NO. 4:18-CR-06054-EFS-1
15                               Plaintiff,            EMERGENCY MOTION FOR COMPASSIONATE
                                                       RELEASE (COVID-19); MEMORANDUM OF
16                         v.                          POINTS & AUTHORITIES IN SUPPORT
17   SAMI ANWAR,                                       COURT: Hon. Edward F. Shea
18                              Defendant.
19

20

21          Defendant SAMI ANWAR, by and through undersigned counsel, and with more than 30 days

22 having elapsed since he requested compassionate release from the Bureau of Prisons (“BOP”), hereby

23 moves this honorable Court for compassionate release pursuant to 18 U.S.C. § 3582 (c)(1)(A)(i) in light

24 of the extraordinary and compelling circumstances presented by the current pandemic including the

25 recent Omicron Variant and subvariants of SARS-CoV-2, his age (43), the fact he is suffering from,

26 among other things, thyroid cancer, and that he remains unvaccinated against COVID-19 despite

27 repeated requests. As U.S. District Judge Michael H. Simon found during a civil class action hearing

28 brought by inmates against the warden of FCI Sheridan, “inmates are being incarcerated [at FCI

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE       8
     Case 4:18-cr-06054-EFS          ECF No. 289       filed 04/05/22     PageID.7507 Page 9 of 36



 1 Sheridan] under conditions that pose a substantial risk of serious harm, given the COVID-19 virus in our

 2 community, including in our prison. I think that virus creates a substantial risk of serious harm. Among

 3 other things, it can lead to serious health effects all the way leading to death.” Stirling v. BOP, et al.,

 4 3:20-cv-00712-SB (D. Or. Oct. 20, 2020) (Doc. 44 at 34-35).

 5          Mr. Anwar prays that the imprisonment portion of his sentence be reduced to time-served so that

 6 he may begin serving his three-year term of supervised release, which this Court may condition on a

 7 term of home confinement. In the alternative, Mr. Anwar asks that the Court recommend to the BOP

 8 that he be transferred to home confinement at the earliest possible opportunity consistent with BOP

 9 regulations, see 18 U.S.C. § 3621(b)(4). In support thereof, Mr. Anwar provides this honorable Court

10 with the attached Memorandum of Points and Authorities.

11

12    Dated: April 4, 2022.                                    ALAN ELLIS
13

14                                                             /s/ ALAN ELLIS
                                                               ALAN ELLIS
15

16
                                                               JEFFRY K. FINER
17

18                                                             /s/ Jeffry K. Finer
                                                               JEFFRY K. FINER
19
                                                               Attorneys for Defendant
20
                                                               SAMI ANWAR
21

22

23

24

25

26

27

28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE           9
     Case 4:18-cr-06054-EFS         ECF No. 289        filed 04/05/22   PageID.7508 Page 10 of 36



 1                     MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT

 2 I.         PERTINENT BACKGROUND AND PROCEDURAL HISTORY

 3            Mr. Anwar (Reg. No. 21140-085) is a 43-year-old Asian male with a history of he has papillary

 4 thyroid cancer, type 2 diabetes mellitus, a history of at least one documented panic attack and anxiety

 5 disorder, and recurrent headaches. See Ex. 1 (Letter from Dr. Thomas E. McNalley). According to the

 6 CDC, Mr. Anwar is at least twice as likely to be hospitalized and 10 times more likely to die from

 7 COVID-19 than those 18 to 29 years of age.1 Once he turns 50, his risk for hospitalization increases by

 8 50% from two to three times more likely, and more than doubles for death from 10 to 25 times more

 9 likely.2

10            On November 7, 2018, the grand jury for the Eastern District of Washington returned a 47-count

11 indictment, in which Sami Anwar, Mid-Columbia Research, LLC, and Zain Research, LLC were

12 charged with (count 1) Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C. § 1349; (count 2)

13 Conspiracy to Commit Mail Fraud, in violation of 18 U.S.C. § 1359; (counts 3-25) Wire Fraud, in

14 violation of 18 U.S.C. § 1343; (counts 26-40) Mail Fraud, in violation of 18 U.S.C. § 1341; (counts 41-

15 46) Fraudulently Obtaining Controlled Substances, in violation of 21 U.S.C. § 843(a)(3); and (count 47)

16 Furnishing False or Fraudulent Material Information, in violation of 21 U.S.C. § 843(a)(4)(A). This

17 indictment also included a forfeiture allegation.

18            In response to the indictment, the Court issued a warrant for Mr. Anwar’s arrest. On November

19 8, 2018, Mr. Anwar was arrested and appeared before a U.S. Magistrate Judge in Spokane. Washington.

20 at which time he entered a plea of not guilty. He has been in continuous custody since his arrest.

21            On February 5, 2019, a 47-count superseding indictment was filed, in which the above-noted

22 defendants were charged with the same counts alleged in the original indictment. The primary change in

23 the superseding indictment was that the date of relevant conduct had changed, alleging the defendant

24 had engaged in these offenses prior to the date alleged in the November 7, 2018, indictment.

25            On November 22, 2019, Mr. Anwar was found guilty by jury trial of all 47 counts of the

26 superseding indictment. Count 1 charged Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C. §

27            1
            https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-
   discovery/hospitalization-death-by-age.html
28
          2
            Id.
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE    10
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22     PageID.7509 Page 11 of 36



 1 1349; count 2 charged Conspiracy to Commit Mail Fraud, in violation of 18 U.S.C. § 1349; counts 3-25

 2 charged Wire Fraud, in violation of 18 U.S.C. § 1343; counts 26-40 charged Mail Fraud, in violation of

 3 18 U.S.C. § 1341; counts 41-46 charged Fraudulently Obtaining Controlled Substances, in violation of

 4 21 U.S.C. § 843(a)(3); and count 47 charged Furnishing False or Fraudulent Material Information, in

 5 violation of 21 U.S.C. § 843(a)(4)(A).

 6          On October 1, 2020, after a two-day sentencing hearing, this Court calculated Mr. Anwar’s Total

 7 Offense Level under USSG §2B1.1 to be 40 (inclusive of a one-level upward departure) and his

 8 Criminal History Category to be I (with zero criminal history points) for a sentence range of 292 to 365

 9 months. See Sentencing Trans. at 297-299 (Doc. 281; PageID 7086-7088). This Court then imposed a

10 sentence of 340 months, three years’ supervised release, and $1,890,550.10 in restitution. See id.

11          According to the BOP’s online “Inmate Locator,” Mr. Anwar is currently serving his sentence at

12 FCI Sheridan and has an estimated release date of December 30, 2042. As of April 18, 2022, Mr.

13 Anwar will have served 41 months of imprisonment, which is equivalent to a sentence of over 48

14 months of imprisonment when factoring in the customary 15% reduction for Good Conduct Time credit.

15

16 II.      LEGAL AUTHORITY GOVERNING COMPASSIONATE RELEASE

17          A.     Exhaustion
18          Section 3582(c)(1)(A) of Title 18 of the U.S. Code provides in pertinent part that,

19                 the court, upon motion of the . . . defendant after the defendant has fully
20                 exhausted all administrative rights to appeal a failure of the Bureau of
                   Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days
21                 from the receipt of such a request by the warden of the defendant’s facility,
                   whichever is earlier, may reduce the term of imprisonment (and may impose
22                 a term of probation or supervised release with or without conditions that
                   does not exceed the unserved portion of the original term of imprisonment),
23
                   after considering the factors set forth in section 3553(a) to the extent that
24                 they are applicable, if it finds that. . . extraordinary and compelling reasons
                   warrant such a reduction . . . and that such a reduction is consistent with
25                 applicable policy statements issued by the Sentencing Commission.”

26          Per the plain language of the statute, this Court has jurisdiction to consider the instant motion
27 inasmuch as more than 30 days have lapsed since Mr. Anwar first made his request for compassionate

28 release to the Warden at FCI Sheridan on December 17, 2021. See Ex. 2; United States v. Keller, 2

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE         11
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22     PageID.7510 Page 12 of 36



 1 F.4th 1278, 1281 (9th Cir. 2021) (“a court may not consider a motion brought under § 3582(c)(1)(A)

 2 unless (1) the Director of the BOP has filed the motion on the inmate’s behalf, or (2) the inmate has

 3 requested that the BOP make such a motion and eithis (a) the inmate has ‘fully exhausted all

 4 administrative rights to appeal a failure of the [BOP] to bring a motion on the [inmate]'s behalf,’ or (b)

 5 30 days have elapsed since the ‘warden of the [inmate]’s facility’ received a compassionate-release

 6 request from the inmate.”).

 7          This Court therefore has jurisdiction to entertain the instant motion and consider it on its merits.

 8          B.      Section 1B1.13 of the U.S. Sentencing Guidelines Does Not Preclude Relief
 9          The pertinent policy statement of the Sentencing Commission pertaining to compassionate

10 release motions is found at USSG §1B1.13. However, that policy statement recapitulates an earlier

11 version of 18 U.S.C. § 3582, which, by its terms, applies only to the “Director of the Bureau of

12 Prisons.” USSG §1B1.13 (emphasis added). Thus, it does not contemplate—nor could it have—the

13 subsequent and substantive change to 18 U.S.C. § 3582(c)(1)(A) made on December 21, 2018 by the

14 First Step Act, which for the first time provided an inmate with the right to move a court for

15 compassionate release. Indeed, even the U.S. Sentencing Commission itself recognizes that “the policy

16 statement at §1B1.13 does not reflect the First Step Act’s changes.” U.S. Sentencing Comm’n, The First

17 Step Act of 2018—One Year of Implementation at 47 (Aug. 2020) available at

18 https://www.ussc.gov/sites/default/ files/pdf/research-and-publications/research-

19 publications/2020/20200831_First-Step-Report.pdf.

20          Moreover, the Commission clearly intended for compassionate release motions to be brought and

21 granted more frequently. See USSG §1B1.13, comment. (n.4) (“encourage[ing]” the Director to file such

22 motions whenever warranted); USSG App. C, Amend. 799 (effective Nov. 1, 2016) (“the new

23 commentary [to USSG §1B1.13] is intended to encourage the Director of the Bureau of Prisons to

24 exercise his or his authority to file a motion under section 3582(c)(1)(A) when the criteria in this policy

25 statement are met”) (emphasis added). As set forth in its Reason for Amendment to Amendment 799,

26 the last substantive time the Commission was able to address this policy statement,3 the Commission

27
            3
            The Commission has been without a quorum since December 13, 2018, for which it could
28 address the changes brought about by the First Step Act that was enacted on December 21, 2018. See
   United States v. Bryant, 996 F.3d 1243, 1265 n.1 (11th Cir. May 7, 2021) (Martin, J., dissenting).
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE       12
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22    PageID.7511 Page 13 of 36



 1 elicited “testimony from witnesses and experts about the need to broaden the criteria for eligibility, to

 2 add guidance to the medical criteria, and to remove other administrative hurdles that limit the

 3 availability of compassionate release for otherwise eligible defendants.” USSG App. C, Amend. 799

 4 (effective Nov. 1, 2016).

 5          Indeed, in testimony before the U.S. Sentencing’s 2016 hearing on “Compassionate Release and

 6 the Conditions of Supervision,” Michael Horowitz, the Inspector General for the U.S. Department of

 7 Justice, discussed two IG reports that “found serious issues with how the Department was running [the

 8 compassionate release] program and concluded that an efficiently-run compassionate release program

 9 combined with modifications to the program’s eligibility criteria could expand the pool of eligible

10 candidates, reduce overcrowding in the federal prison system, and result in cost savings for the BOP.”4

11          Finally, the U.S. Court of Appeals for this Circuit has held that USSG §1B1.13 is not controlling

12 on district courts. See United States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021) (“Because the district

13 court treated U.S.S.G. § 1B1.13 as binding, we vacate and remand so that the district court can reassess

14 Aruda’s motion for compassionate release under the standard set forth here.”). Accordingly, this Court is

15 free to determine any reason as extraordinary and compelling warranting compassionate release. “[T]he

16 Court is not bound by the letter of [USSG §1B1.13] and may exercise its discretion to find extraordinary

17 and compelling reasons warranting a sentence reduction even where [USSG §1B1.13] does not literally

18 apply.” United States v. Murry, No. 1:15-cr-00153, 2021 U.S. Dist. LEXIS 38121, *15, 2021 WL

19 795451 (S.D. Ind. Mar. 2, 2021) (Barker, J.) (granting compassionate release to drug and firearms

20 offender sentenced to 100 months where defendant was required to care for minor child). According to

21 the U.S. Sentencing Commission itself, in those circuits such as the Ninth that have found that §1B1.13

22 does not apply to offender-filed motions, “district courts in these circuits may independently identify

23 “extraordinary and compelling reasons” under section 3582(c)(1)(A).” U.S. Sentencing Comm’n,

24 Compassionate Release: The Impact of the First Step Act and COVID-19 Pandemic 2 (Mar. 2022),

25 available at https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

26 publications/2022/20220310_compassionate-release.pdf.

27
            4
           Statement of Michael E. Horowitz, Inspector General, U.S. Dept. of Justice before the U.S
28 Sentencing Commission at 3 (Feb. 17, 2016), available at https://www.ussc.gov/sites/default/files/pdf/
   amendment-process/public-hearings-and-meetings/20160217/IG.pdf.
    EMERGENCY MOTION FOR COMPASSIONATE RELEASE      13
     Case 4:18-cr-06054-EFS         ECF No. 289      filed 04/05/22    PageID.7512 Page 14 of 36



 1   III.   EXTRAORDINARY AND COMPELLING REASONS WARRANTING RELIEF

 2          A.      The Pandemic

 3          As this Court is well aware, for the past two years, we have remained in the midst of a global

 4 pandemic caused by a novel coronavirus. See, e.g., Thomas R. Frieden, former Dir. of the CDC, The

 5 Atlantic, COVID-19 Is Out of Control. What Can We Do About It? (Nov. 13, 2020) (“The coronavirus is

 6 growing out of control. Deaths will likely increase to 2,000 people a day before the end of the year, and

 7 the virus will be with us for much of 2021 and possibly longer.”) (Emphasis added),

 8 https://www.theatlantic.com/ideas/ archive/2020/11/covid-19-is-out-of-control-what-can-we-do/617097/

 9 (last visited Nov. 15, 2020). Indeed, that prediction has unfortunately borne out all too well as COVID-

10 19 case were peaking at nearly four million cases per day worldwide in January of this year and are

11 still averaging well over a million per day as of the instant filing and increasing.5 In the United States

12 alone, cases were exceeding over a million per day in January of this year and are still averaging over

13 25,000 per day as of the instant filing.6

14          Less than one-third of the population has been fully vaccinated (two doses plus a booster) as of

15 the instant filing.7 Indeed, “there is widespread consensus among scientists and public health experts

16 that the herd immunity threshold is not attainable — at least not in the foreseeable future, and perhaps

17 not ever. Instead, they are coming to the conclusion that rather than making a long-promised exit, the

18 virus will most likely become a manageable threat that will continue to circulate in the United States for

19 years to come.”8

20          While many of those infected by SARS-Cov-2—the coronavirus that causes COVID-19—are

21 asymptomatic, a large portion of those that develop COVID-19 likely will suffer life-long damage to

22 their internal organs.

23          5
               See Worldometer, COVID-19 Coronavirus Pandemic,
     https://www.worldometers.info/coronavirus/#countries (last visited Apr. 2, 2022).
24
             6
               See CDC, Trends in Number of COVID-19 Cases and Deaths in the US Reported to CDC, by
25   State/Territory, at https://covid.cdc.gov/covid-data-tracker/#trends_dailydeaths (last visited Apr. 2,
     2022).
26           7
               See CDC, Trends in Number of COVID-19 Vaccinations in the US , at
     https://covid.cdc.gov/covid-data-tracker/#vaccination-trends (last visited Apr. 2, 2022).
27
             8
               Apoorva Mandavilli, NY Times, “Reaching ‘Herd Immunity’ Is Unlikely in the U.S., Experts
28   Now Believe,” May 3, 2021, updated May 11, 2021, https://www.nytimes.com/2021/05/03/health/covid-
     herd-immunity-vaccine.html.
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE         14
     Case 4:18-cr-06054-EFS         ECF No. 289       filed 04/05/22     PageID.7513 Page 15 of 36



 1                  Recent clinical evidence indicates that in persons who suffer severe
                    symptoms, the virus may also cause damage to organs such as the heart, the
 2                  liver, and the kidneys, as well as to organ systems such as the blood and
                    immune systems. This damage is so extensive and severe that it may be
 3                  enduring. Among other things, patients who suffer severe symptoms from
                    COVID-19 end up having damage to the walls and air sacs of their lungs,
 4                  leaving debris in the lungs and causing the walls of lung capillaries to
                    thicken so that they are less able to transfer oxygen going forward. Indeed,
 5                  studies of some recovered patients in China and Hong Kong indicate a
                    declined lung function of 20% to 30% after recovery.
 6
     Ruderman v. Kolitwenzew, No. 20-cv-2082, 2020 U.S. Dist. LEXIS 83163, *5-6 (C.D. Ill. May 12,
 7
     2020) (emphasis added; citations omitted).9
 8
            More alarmingly, the mortality rate of COVID-19 is at least 10 times greater than seasonal flu.10
 9
     In that regard, “[a] new study . . . found that on average, those who died from COVID-19 lost more than
10
     a decade of their life to the disease.”11 While the virus has spread quickly within the United States, it is
11
     estimated to spread nearly four times more quickly within prisons.12 According to the New York Times,
12
     “[i]n federal facilities, at least 39 percent of prisoners are known to have been infected. The true count is
13
     most likely is higher because of a dearth of testing, but the findings align with reports from The
14
     Marshall Project and the Associated Press, U.C.L.A. Law and The COVID Prison Project that track
15
     Covid-19 in prisons. The virus has caused misery and loss in many places, but its destructive power has
16
     been felt intensely among the incarcerated, who have been infected at rates several times higher than
17

18          9
                See also Kathryn Krawczyk, The Week, Even Mild Coronavirus Cases Can Cause Lasting
     Cardiovascular Damage, Study Shows (July 28, 2020) (reporting on “a recent study of 100 recovered
19   coronavirus patients reveals 78 of them now have lasting cardiovascular damage even though a vast
     majority of them had mild cases of COVID-19 in the first place”) (emphasis added),
20   https://theweek.com/speedreads/927908/even-mild-coronavirus-cases-cause-lasting-cardiovascular-
     damage-study-shows.
21
              10
                 See Jake Ellison, UW News, COVID-19: UW Study Reports ‘Staggering’ Death Rate in US
22   Among Those Infected Who Show Symptoms, (May 18, 2020),
     https://www.washington.edu/news/2020/05/18/ covid-19-uw-study-reports-staggering-death-rate-in-us-
23   among-those-infected-who-show-symptoms/.
              11
                 Joseph Guzman, The Hill, New Study Finds Coronavirus Can Cut Life Span by 10 Years or
24   More, (May 11, 2020) (emphasis added), https://thehill.com/changing-america/well-
     being/longevity/497097-those-who-died-from-covid-19-lost-more-than-a-decade-of.
25
              12
                 See Lisa B. Puglisi, M.D., et al., Estimation of COVID-19 Basic Reproduction Ration in a
26   Large Urban Jail in the United States, 53 Ann. Epidemol. 103-105 (Jan. 2021) (estimating the basic
     reproduction rate (“R0”) at 8.44 within jails and prisons), https://www.ncbi.nlm.
27   nih.gov/pmc/articles/PMC7480336/; Joe Hilton, et al., Estimation of country-level basic reproductive
     ratios for novel Coronavirus (SARS-CoV-2/COVID-19) using synthetic contact matrices, 16(7) PLoS
28   Comput. Biol. (July 2020) (estimating U.S. R0 at 2.22 to 2.47), https://www.ncbi.nlm.nih.gov/pmc/
     articles/PMC7363110/.
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE           15
     Case 4:18-cr-06054-EFS         ECF No. 289       filed 04/05/22     PageID.7514 Page 16 of 36



 1 those of their surrounding communities.”13 In fact, as discussed in more detail below, COVID-19

 2 appears to be perhaps the deadliest event in the history of the BOP.

 3                                     The Omicron, BA.2 and XE Variants

 4          The Omicron Variant is a new and “ominous” variant of SARS-CoV-2.14 The World Health

 5 Organization and the CDC have listed it as a Variant of Concern.15 In the words of Kent Sepkowitz, a

 6 physician and infection control expert at Memorial Sloan Kettering Cancer Center in New York,

 7 Omicron is a “game changer.”16 First spotted in South Africa toward the end of November 2021, it

 8 quickly spread throughout the world including within the United States.17

 9          The Omicron Variant spreads at least twice as fast as the Delta Variant,18 the previous variant of

10 concern, which had been the predominant variant within the United States before overtaken by

11 Omicron.19 “New data from South Africa and Europe hint that Omicron cases are poised to explode in

12 the U.S., where the vast majority of the population isn’t well protected against infection.”20 In fact,

13 “[t]op federal health officials warned in a [recent] briefing . . . that the omicron variant is rapidly

14 spreading in the United States and could peak in a massive wave of infections as soon as January

15 [2022].”21 Those predictions were borne out all too well.

16          13
                Eddie Burkhalter, et al., Incarcerated and Infected: How the Virus Tore Through the U.S.
     Prison System (Apr. 10, 2021), https://www.nytimes.com/interactive/2021/04/10/us/covid-prison-
17   outbreak.html.
             14
18              Gretchen Vogel, COVID-19 Reinfection Study from South Africa Yields Ominous Data About
     Omicron, Science, Dec. 4, 2021, https://www.economist.com/briefing/2021/12/04/omicron-looks-
19   ominous-how-bad-is-it-likely-to-be.
             15
                World Health Organization, Update on Omicron, Nov. 28, 2021,
20   https://www.who.int/news/item/28-11-2021-update-on-omicron
             16
21              Kent Sepkowitz, Omicron is a Game-Changer for Covid-19 Vaccines, CNN, Dec. 24, 2021,
     https://www.cnn.com/2021/12/24/opinions/omicron-and-covid-19-vaccines-sepkowitz/index.html.
22           17
                Tracking COVID-19 Variant Omicron, BNO News, last visited Dec. 8, 2021,
     https://bnonews.com/index.php/2021/11/omicron-tracker/
23
             18
                Apoorva Mandavilli, Omicron Variant Spreading Twice as Quickly as Delta in South Africa,
24   NY Times, Dec. 3, 2021, https://www.nytimes.com/2021/12/03/health/coronavirus-omicron-vaccines-
     contagiousness.html.
25           19
                Emily Anthes, Delta, As Expected, is Now the Dominant Virus Variant in the U.S., the C.D.C.
     Estimates, NY Times, July 14, 2021, https://www.nytimes.com/2021/07/07/health/delta-variant-
26   cdc.html.
             20
27              Caitlyn Owens, Biden Official Warns: COVID Explosion Imminent, Axios, Dec. 14, 2021,
     https://www.axios.com/omicron-coronavirus-cases-europe-us-c85be94d-8edf-4d61-9f05-
28   de924bff6760.html.
             21
                Lena H. Sun, et al., Omicron spreading rapidly in U.S. and could bring punishing wave as
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE         16
     Case 4:18-cr-06054-EFS         ECF No. 289       filed 04/05/22    PageID.7515 Page 17 of 36



 1          The Omicron Variant increases the chances of reinfection three-fold.22 What is currently

 2 unknown is whether the Omicron Variant is even more virulent. However, if hospitalization rates out of

 3 South Africa are any indication, it is.23 Even if Omicron is less severe than the Delta Variant, as Dr.

 4 Anthony Fauci, the head of the U.S. National Institute of Allergy and Infectious Diseases points out,

 5 “even if you have a diminution in severity, if you have a much larger number of individual cases [due to

 6 increased transmissibility], the fact that you have so many more cases might actually obviate the effect

 7 of it being less severe.”24

 8          In addition to being far more transmissible and at least as virulent, there also are indications that

 9 the Omicron Variant largely evades immunity brought by a previous infection.25 Moreover, “[t]he

10 omicron variant . . . will probably evade — or at least severely diminish — many forms of the main tool

11 physicians have [to fight its infection], known as monoclonal antibodies, according to recent laboratory

12 studies.”26 Likewise, vaccines will struggle to protect against this variant.27

13          This is so because of the sheer number of mutations on the virus. Whereas Delta had 10 or 12

14 mutations, Omicron is thought to have more than 50.28 At least three shots are now required to provide

15

16 soon as January, CDC warns, Wash. Post, Dec. 14, 2021,

17 https://www.washingtonpost.com/health/2021/12/14/omicron-us-spread/.
           22
              Reinfections Three Times More Likely with Omicron: S. African Research, AFP, Dec. 2, 2021,
18 https://www.france24.com/en/live-news/20211202-reinfections-three-times-more-likely-with-omicron-
   s-african-research
19         23
              Alexander Tin, South Africa Investigates "Sharp Increase" in Hospitalized Children with
   COVID,    CBS  News, Dec. 3, 2021, https://www.cbsnews.com/news/omicron-variant-children-south-
20 africa/
            24
21              David Knowles, Fauci: 'Dangerous' to Assume Omicron's Apparent Mildness Means the End
     of the Pandemic is in Sight, Yahoo News, Dec. 22, 2021, https://news.yahoo.com/fauci-dangerous-to-
22   assume-omicrons-apparent-mildness-means-the-end-of-the-pandemic-is-in-sight-215540152.html.
             25
                Study: Omicron could be more transmissible due to sharing genetic material with common
23   cold, Yahoo News, Dec. 4, 2021, https://news.yahoo.com/study-omicron-could-more-transmissible-
     205059149.html.
24
             26
                Carolyn Y. Johnson, Pfizer’s Anti-Covid Pill Prevents Severe Illness and Should Work against
25   Omicron, Company Says, Wash. Post, Dec. 14, 2021,
     https://www.washingtonpost.com/health/2021/12/14/does-pfizer-covid-pill-paxlovid-work/.
26           27
                Moderna CEO Says Vaccines Likely Less Effective Against Omicron, Reuters, Nov. 30, 2021,
     https://www.reuters.com/business/healthcare-pharmaceuticals/moderna-ceo-says-vaccines-likely-less-
27   effective-against-omicron-ft-2021-11-30/.
             28
28              SARS-CoV-2 Omicron variant, Wikipedia, https://en.wikipedia.org/wiki/SARS-CoV-
     2_Omicron_variant (visited Dec. 5, 2021).
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE       17
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22    PageID.7516 Page 18 of 36



 1 sufficient immunity;29 four in those over 50.30 According to a recent study out of Israel, even a double-

 2 dose vaccination coupled with a booster shot will provide no more than “four times lower” efficacy

 3 against Omicron “than the neutralization ability against Delta. . . . [W]e [also] don’t know if this will

 4 decrease with time and we’re working on that.”31 At least one widely available vaccine—Johnson &

 5 Johnson—provides no protection at all against Omicron.32 In fact, “after two doses of an mRNA vaccine

 6 from Pfizer/BioNTech or Moderna (MRNA.O), efficacy against symptomatic infection from Omicron is

 7 only about 30%, down from about 87% versus Delta. . . . Protection against symptomatic infection is

 8 ‘essentially eliminated’ for individuals vaccinated more than four months earlier. Boosters restore

 9 protection to about 48%.”33

10          Thus, it was not surprising that within a mere month of its discovery in South Africa, Omicron

11 became the dominant variant of SARS-CoV-2 throughout the United States.34 The first confirmed death

12 from Omicron was reported on December 21, 2021. “The man, who tested positive for the omicron

13 variant before his death . . . had previously been infected with the coronavirus and had underlying health

14 conditions that made him particularly vulnerable.”35

15          According to a declaration recently filed in a class action against the U.S. Immigration and

16 Customs Enforcement agency on behalf of detainees, Dr. Eric Feigl-Ding, a Senior Fellow at the

17
            29
              Ludwig Berger & Michael Erman, Pfizer, BioNTech Vaccine Neutralises Omicron with Three
18 Shots, Reuters, Dec. 8, 2021, https://www.reuters.com/business/healthcare-pharmaceuticals/biontech-
   pfizer-say-test-shows-3-doses-vaccine-neutralise-omicron-2021-12-08/.
19         30
              See CDC, Media Statement, CDC Recommends Additional Boosters for Certain Individuals, at
   https://www.cdc.gov/media/releases/2022/s0328-covid-19-boosters.html.
20
           31
              Nathan Jeffay, Israeli Study Finds 2 Pfizer Shots Fail to Neutralize Omicron, but Booster
21 Effective, The Times of Israel, Dec. 12, 2021, https://www.timesofisrael.com/israeli-study-finds-2-
   pfizer-shots-fail-to-neutralize-omicron-but-booster-effective/.
22         32
              Antony Sguazzin, J&J Shot Loses Antibody Protection Against Omicron in Study, Bloomberg,
   Dec.  15, 2021, https://www.bloombergquint.com/coronavirus-outbreak/j-j-shot-shows-no-neutralization-
23 against-omicron-in-lab-study
            33
24              Nancy Lapid, Vaccines Appear Weak at Blocking Omicron, Better Against Severe Disease,
     Reuters, Dec. 14, 2021 (emphasis added), https://www.reuters.com/business/healthcare-
25   pharmaceuticals/vaccines-appear-weak-blocking-omicron-infection-shots-may-reduce-long-covid-2021-
     12-13/.
26           34
                Mike Stobbe, Omicron Sweeps Across Nation, Now 73% of New US COVID Cases, AP, Dec.
     21, 2021, https://apnews.com/article/omicron-majority-us-cases-833001ef99862bd6ac17935f65c896cf.
27
             35
                Annabelle Timsit and Lateshia Beachum, Unvaccinated Houston Man’s Death May be First
28   Attributed to Omicron in U.S., Wash. Post, Dec. 21, 2021,
     https://www.washingtonpost.com/nation/2021/12/21/us-omicron-coronavirus-death-first-reported/.
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE      18
     Case 4:18-cr-06054-EFS        ECF No. 289     filed 04/05/22    PageID.7517 Page 19 of 36



 1 Federation of American Scientists and inter alia member of the World Health Organization (“WHO”)

 2 and United Nations’ (“UN”) COVID-19 Mortality Committee, states that “[d]ue to the highly

 3 transmissible Omicron variant, case numbers, hospitalizations, and deaths due to COVID-19 have been

 4 high and are likely to increase with the recent emergence of the BA.2 sublineage of Omicron and the

 5 likelihood of future variants.”36

 6          As Dr. Feigl-Ding further explains, “[t]he recently-identified BA.2 sublineage of Omicron is

 7 significantly more infectious than the BA.1 sublineage of Omicron, and seems to be even more severe.

 8 In addition, studies suggest that infection with Omicron does not protect individuals from future

 9 reinfection. In addition to the immediate risk posed by the BA.2 sublineage, each new infection provides

10 the COVID-19 virus another opportunity to mutate and therefore produce even more transmissible and

11 dangerous future variants.”37

12          As Dr. Feigl-Ding also states, “[o]ver the course of the pandemic, higher case and death rates

13 have been observed in prisons than in the general population. For the Omicron variant, too, the Rt

14 [rate of transmission] has been significantly high in carceral settings.”38 “Not only is the BA.2

15 sublineage of Omicron more transmissible, it is also linked to worse health consequences. In countries

16 like Denmark where the BA.2 sublineage is dominant, excess deaths caused by the virus are spiking. A

17 recent study out of Japan which tested different variants on hamsters demonstrates that ‘[t]he viral RNA

18 load in the lung periphery and histopathological disorders of BA.2 were more severe than those of BA.1

19 and even B.1.1.’ The study raises serious concerns about the BA.2 sublineage, as it concluded that the

20 ‘data suggest[s] the possibility that BA.2 would be the most concerned variant to global health’ and

21 ‘propose that BA.2 should be recognised as a unique variant of concern, and this SARS-CoV-2 variant

22 should be monitored in depth.’”39

23          As Dr. Feigl-Ding thus rightly observes, “[t]he Omicron wave is far from over. Although

24 nationally cases are for now trending downward, the emergence of the even more transmissible BA.2

25          36
              See Miguel Escalante, et al. v. U.S. Immigration and Customs Enforcement, et al., 1:22-cv-
   00541-RJL    (D.D.C. March 1, 2022) (Doc 2-6.), attached as Ex. 3 (Declaration of Dr. Eric Feigl-Ding,
26 Sc.D.).
           37
27            Id. at 2 (footnotes omitted).
           38
              Id. at 3 (emphasis added; footnotes omitted).
28
           39
              Id. at 8 (footnotes omitted).
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE        19
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22    PageID.7518 Page 20 of 36



 1 sublineage as well as the greater likelihood of reinfection after infection with Omicron––in comparison

 2 to reinfection after infection with Delta––show that the serious threats posed by Omicron and

 3 COVID-19 is ongoing.”40 Indeed, on March 29, 2022, the World Health Organization announced the

 4 presence of the XE recombinant subvariant, which is a combination of the BA.1 and BA.2 variants of

 5 Omicron.41 It is thought to be about 10% more transmissible than even the already highly transmissible

 6 BA.2 subvariant.

 7          In light of the above, it is very disconcerting that the BOP’s testing regime remains lower than at

 8 any time since the onset of the pandemic, as indicated in the graph below. Indeed, the BOP has been

 9 reporting exactly 136 pending tests since February 16, 2022, thereby suggesting that no active testing is

10 taking place. This makes the BOP effectively blind to Omicron, which is especially problematic given

11 that Omicron can also easily evade detection by the rapid tests used by the BOP.42

12

13

14

15

16

17

18

19

20

21          Exacerbating the BOP’s vulnerability to COVID-19 is the fact that it likely does not have
22 enough vaccine on hand to vaccinate any unvaccinated inmates and provide booster shots to all

23 remaining inmates. That the BOP does not even report the number of booster shots it has administered

24
            40
25            Id. at 4 (emphasis added).
            41
              See World Health Organization, COVID-19 Weekly Epidemiological Update, Mar. 29, 2022,
26 https://www.who.int/publications/m/item/weekly-epidemiological-update-on-covid-19---29-march-

27 2022.
           42
              See Hilary Brueck and Shayanne Gal, Rapid Tests Do Not Always Detect Omicron — Here’s
28 How to Know for Sure If You've Got COVID-19 or Not, BusinessInsider, Dec. 23, 2021,
   https://www.businessinsider.com/how-to-trust-rapid-covid-test-result-2021-12.
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE     20
     Case 4:18-cr-06054-EFS        ECF No. 289      filed 04/05/22    PageID.7519 Page 21 of 36



 1 to inmates suggests the BOP has lost all visibility on the vaccination status of the inmate population as a

 2 whole.43 Furthermore, on March 29, 2022, the CDC recommended that those 50 years of age or

 3 older receive a fourth booster.44 Approximately 20% of the current BOP inmate population is at least

 4 50 years of age.45

 5          This renders the entire inmate population, staff and surrounding community exposed because the

 6 efficacy of prior vaccinations is now known to be wearing off.46 Hence, again, the need for boosters.47

 7 As the BOP notes in its COVID-19 Vaccine Guidance, “[i]nmates who are not moderately to severely

 8 immunocompromised and who received the Pfizer-BioNTech COVID-19 vaccine as their primary 2-

 9 dose vaccination series should be offered a booster dose at least 6 months after the second dose.”48 The

10 BOP, however, is simply incapable of fully vaccinating enough inmates quickly enough to adequately

11 protect inmates, staff, and surrounding communities from the ravages of COVID-19.

12          Even if the BOP could fully and timely vaccinate all inmates as well as administer boosters,

13 vaccines alone do not prevent the spread of the of the virus.

14                 [V]accines can mitigate the more dangerous symptoms of COVID-19
                   (including long term complications, hospitalizations, ICU admissions, and
15                 death). . . . The CDC has . . . found that “COVID-19 vaccination reduces
                   the risk of COVID-19 and its potentially severe complications [and] data
16                 suggest that vaccination may make symptoms less severe in people who are
                   vaccinated but still get COVID-19.”. . .
17
                   [B]oth the unvaccinated and vaccinated can nevertheless “acquire and
18                 spread” the SARS-CoV-2 virus. Unlike certain sterilizing vaccines (such as
                   the small pox vaccine at issue in Jacobson v. Massachusetts, 197 U.S. 11,
19                 25 S. Ct. 358, 49 L. Ed. 643 (1905)), the vaccines for COVID-19 are, by
                   design, non-sterilizing. As such, they do not kill the underlying virus like
20
            43
              See BOP, COVID-19 Coronavirus, “Coronavirus Vaccine Implementation,” (“The figures
21 below do not  include any additional booster shots given.”) (Emphasis in original), at
   https://www.bop.gov/coronavirus/.
22
           44
              See CDC, Media Statement, CDC Recommends Additional Boosters for Certain Individuals, at
23 https://www.cdc.gov/media/releases/2022/s0328-covid-19-boosters.html.
           45
              See BOP, Inmate Age, https://www.bop.gov/about/statistics/statistics_inmate_age.jsp.
24
           46
              Maggie Fox, Studies Confirm Waning Immunity from Pfizer's Covid-19 Vaccine, CNN, Oct. 7,
25 2021, https://www.cnn.com/2021/10/06/health/pfizer-vaccine-waning-immunity/index.html.
           47
              Robert Towey, NIH Director Urges Vaccinated Americans to Get Covid Booster Shots to
26 Curb Breakthrough   Infections Over Holidays, CNBC, Nov. 9, 2021,
   https://www.cnbc.com/2021/11/09/nih-director-urges-americans-to-get-covid-boosters-to-prevent-
27 breakthrough-infections.html
            48
28             Federal Bureau of Prisons Clinical Guidance at 1, Oct. 13, 2021,
     https://www.bop.gov/resources/pdfs/covid_19_vaccine_guidance_v14_0_2021.pdf.
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE     21
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22    PageID.7520 Page 22 of 36


                    some traditional vaccines (i.e., they cannot clear and prevent an infection
 1                  from taking hold), and thus, the vaccines for COVID-19 cannot
                    affirmatively preclude vaccinated persons from either contracting or
 2                  transmitting the SARS-CoV-2 virus. Indeed, asymptomatic transmission by
                    both vaccinated and unvaccinated persons may account for more than half
 3                  of all transmission. See, e.g., S.V. Subramanian and Akhil Kumar, Increases
                    in COVID-19 are unrelated to levels of vaccination across 68 countries and
 4                  2947 counties in the United States (Sept. 9, 2021), available
                    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8481107/pdf/10654_2021
 5                  _Article_80 8.pdf (last visited Dec. 6, 2021) (finding that “[t]here also
                    appears to be no significant signaling of COVID-19 cases decreasing with
 6                  higher percentages of population fully vaccinated.”). In view of these
                    developments, the CDC updated its masking policy recommendation to
 7                  cover all persons regardless of vaccination status, as both groups are fully
                    capable of virus transmission.
 8
     Halgren v. City of Naperville, No. 21-cv-05039, 2021 U.S. Dist. LEXIS 241777, *9-12 (N.D. Ill.)
 9
     (footnotes omitted).
10
            Of course, there are other prophylactic measures the BOP can take to minimize the risk of
11
     transmission, in particular reducing the number of inmates. The BOP can achieve this either by
12
     transferring an inmate to home confinement under its CARES Act authority,49 or moving an inmate’s
13
     sentencing judge for compassionate release.50 But like its underwhelming efforts to timely vaccinate the
14
     inmate population, the BOP has failed to transfer an appreciable number of inmates to RRCs or home
15
     confinement and has only moved for compassionate release on behalf of a mere handful of inmates.
16
            The graph below illustrates that there are now more inmates in BOP custody than at the
17
     beginning of the year. And this despite the fact that a few thousand inmates were transferred to RRCs
18
     and home confinement in mid-January as the result of the BOP finally awarding First Step Act credits to
19
     inmates.51 But that appears to have been a one-time event and did not resulting in any significant,
20
     lasting reduction in the BOP inmate population.
21

22

23
            49
              See Attorney General Barr’s memoranda issued on March 25, 2020, and April 3,
24 2020, https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement_april3.pdf;
   Assistant Director for Correctional Programs Division Andre Matevousian’s memorandum
25 issued on April 13, 2021, https://www.fd.org/sites/default/files/news/2021.4.13_-
   _bop_home_confinement_cares_memo.pdf.
26         50
              See Program Statement 5050.50, Compassionate Release/Reduction in Sentence:
   Procedures    for Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g).
27
           51
              See Walter Pavlo, Forbes, Bureau of Prisons Begins Implementing First Step Act with Release
28 Of Thousands In Custody, Jan. 22, 2022, https://www.forbes.com/sites/walterpavlo/2022/01/22/bureau-
   of-prisons-begins-implementing-first-step-act-with-release-of-thousands-in-custody/.
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE       22
     Case 4:18-cr-06054-EFS        ECF No. 289      filed 04/05/22   PageID.7521 Page 23 of 36



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11
            As far as moving a sentencing judge for compassionate release on behalf of an inmate, according
12

13 to the U.S. Sentencing Commission, from January 1, 2020 through June 30, 2021, inmates brought
                                                                                52
14 20,565 motions for compassionate release of which 3,608 (17.5%) were granted. Of those that were
                                                                53
15 granted, only 32 (0.9% of the 3,608) were brought by the BOP. While the Commission does not report

16 how many motions for compassionate release brought by the BOP were denied, it is not unreasonable to

17 assume that those 32 motions constituted the entirety of all motions brought by the BOP on behalf of

18 inmates. Thus, of 20,565 motions for compassionate release brought during the course of the pandemic

19 through June 2021, only 0.2% (32 of 20,565) were brought by the BOP.
          This is particularly disconcerting given that, as represented below, at least 92 of the BOP’s 192
20

21 facilities remain over their rated capacities—and have for most of the pandemic. Moreover, the inmate

22 population has grown from 94.3% of the average institutional capacity to nearly 100% during the course

23 of the pandemic.

24

25

26
            52
               See U.S. Sentencing Commission, Compassionate Release Data Report tbl. 1 (Sept. 2021),
27 https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-

28 statistics/compassionate-release/20210928-Compassionate-Release.pdf.
            53
               See id. at tbl. 4.
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE        23
     Case 4:18-cr-06054-EFS         ECF No. 289      filed 04/05/22    PageID.7522 Page 24 of 36



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12
            Thus, even these alternatives to vaccination for fighting the spread of the virus are not being
13
     deployed in any significant fashion to offset the over-crowded conditions within the BOP, which
14
     necessarily contributes to the fast-growing threat of COVID-19 to the BOP’s inmates, staff, and
15
     surrounding communities. This is particularly troubling given that COVID-19 has already killed at least
16
     292 inmates in just two years whereas it took AIDS 18 years to kill just 167 inmates as illustrated in the
17
     chart below.
18

19

20

21

22

23

24

25

26

27

28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE         24
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22   PageID.7523 Page 25 of 36


            B.     FCI Sheridan
 1

 2          Mr. Anwar currently is housed at FCI Sheridan, an institution only at Operational Level 1

 3 “Minimal Modifications,” but whose population has remained well-above its rated capacity for over the

 4 last 18 months and is now at a near record level as reflected in the following chart.

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18          Oddly the BOP claims at least 1,649 inmates have been vaccinated at that facility while also
19 reporting only 1,183 currently residing there, an obvious impossibility. Thus, the actual number of

20 vaccinated inmates is unknown, and, as noted earlier, the number who have received booster shots is not

21 even reported. Even assuming all inmates (and staff) have been timely and fully vaccinated, there still

22 are at least nine inmates with active infections and five staff. As there are zero tests pending, in all

23 likelihood there are far more inmates (and staff) actively infected as “BOP generally relies on inmates to

24 self-report their COVID-19 symptoms in order to be tested” who do not always report when they are

25 symptomatic “for fear of being quarantined or isolated.”54

26          FCI Sheridan, is, in short, a viral powder keg.
27
            54
28            GAO, BOP Could Further Enhance its COVID19 Response by Capturing and Incorporating
     Lessons Learned 23 (July 2021), https://www.gao.gov/assets/gao-21-502.pdf.
      EMERGENCY MOTION FOR COMPASSIONATE RELEASE      25
     Case 4:18-cr-06054-EFS        ECF No. 289      filed 04/05/22     PageID.7524 Page 26 of 36



 1          As the trend chart below from the Department of Justice’s Office of Inspector General illustrates,

 2 FCI Sheridan is just coming down from a record outbreak—an outbreak that occurred despite the fact

 3 the majority of inmates were ostensibly vaccinated at the time.55

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15          This is particularly alarming in light of a study by the CDC of a notable outbreak at FCI
16 Texarkana last summer. So concerning was this outbreak, that the CDC sent a special team to

17 investigate. “During July 2021, a COVID-19 outbreak involving the Delta variant was identified in a

18 federal prison in Texas, infecting 172 of 233 (74%) incarcerated persons in two housing units. The

19 Federal Bureau of Prisons (BOP) partnered with CDC to investigate.”56 The team observed “the

20 potential for SARS-CoV-2 Delta variant outbreaks in congregate settings including correctional and

21 detention facilities, even among resident populations with high vaccination coverage.”57 Indeed, there

22 were a “high number of infections in vaccinated persons.”58 Accordingly, the fact that vaccination did

23 not prevent infection “underscore[d] the importance of implementing and maintaining multiple COVID-

24          55
                See U.S. Dep’t of Justice, Ofc. of Insp. Gen., Pandemic Response Oversight--Dashboards of
     COVID-19 Cases, https://oig.justice.gov/coronavirus (last visited on Jan. 25, 2022).
25
             56
                Liesl M. Hagan, MPH, et al., “Outbreak of SARS-CoV-2 B.1.617.2 (Delta) Variant Infections
26   Among Incarcerated Persons in a Federal Prison — Texas, July–August 2021,” CDC, MMWR,
     September 24, 2021 / 70(38);1349–1354, at
27   https://www.cdc.gov/mmwr/volumes/70/wr/mm7038e3.htm.
             57
                Id. (emphasis added).
28
             58
                Id.
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE         26
     Case 4:18-cr-06054-EFS        ECF No. 289       filed 04/05/22    PageID.7525 Page 27 of 36



 1 19 prevention strategies in settings where physical distancing is challenging, even when vaccination

 2 coverage is high.”59

 3          What was quite troubling, therefore, was the team’s finding that despite the high vaccination

 4 rates in inmates, the same was not the case with staff: “BOP records indicate that nearly two thirds of

 5 staff members in this prison were unvaccinated, and at least nine were infected during this outbreak. In

 6 addition, during the 2 weeks before the outbreak, community transmission was high.”60 This is

 7 extremely problematic since, obviously, “SARS-CoV-2 can be introduced into correctional facility

 8 populations and back into the community through daily entry and exit of staff members and interfacility

 9 transfers of incarcerated persons. . . . [T]he identification of a single viral lineage among all sequenced

10 specimens in this outbreak suggests a single introduction of the virus into the prison. Bidirectional

11 connections between correctional facilities and communities highlight the importance of high

12 vaccination coverage among both staff members and incarcerated persons.”61

13          Also alarming, Yamhill County, Oregon—the county surrounding FCI Sheridan—still has a

14 “high” daily case count despite the recent decrease.62 At least 1 in 7 residents have been infected since

15 the beginning of the pandemic.63 Moreover, Williamette Valley Medical Center, the closest medical

16 facility to FCI Sheridan, currently is at 105% of its capacity and has zero ICU beds available.64

17          C.      Mr. Anwar Has Served Sufficient Time
18          On October 1, 2020, after a two-day sentencing hearing, this Court calculated Mr. Anwar’s Total

19 Offense Level under USSG §2B1.1 to be 40 (inclusive of a one-level upward departure) and his

20 Criminal History Category to be I for a sentence range of 292 to 365 months. See Sentencing Trans. at

21 297-299 (Doc. 281; PageID 7086-7088). This Court then imposed a sentence of 340 months, three

22 years’ supervised release, and $1,890,550.10 in restitution. See id.

23

24          59
                Id.
            60
25              Id. (emphasis added).
             61
                Id. (footnotes omitted).
26
             62
                See “Tracking Coronavirus: Yamhill County, Ore.,” NY Times, updated Apr. 3, 2021,
27   https://www.nytimes.com/interactive/2021/us/yamhill-oregon-covid-cases.html.
             63
                Id.
28
             64
                Id.
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE     27
     Case 4:18-cr-06054-EFS       ECF No. 289      filed 04/05/22   PageID.7526 Page 28 of 36



 1          According to the BOP’s online “Inmate Locator,” Mr. Anwar’s estimated release date is

 2 December 30, 2042. As of April 18, 2022, Mr. Anwar will have served 41 months imprisonment, which

 3 is equivalent to a sentence of over 48 months when factoring in the customary 15% reduction for Good

 4 Conduct Time credit. As Table 27 to the U.S. Sentencing Commission’s 2020 Sourcebook on Federal

 5 Sentencing Statistics reports, reproduced below, a 48-month sentence is longer than the median

 6 sentences in Criminal History Category I for Arson (30 months), Assault (18 months), Drug Trafficking

 7 (36 months), and even Manslaughter (37 months). It is eight times greater than the median sentence for

 8 fraud offenses (6 months).

 9          By any measure, Mr. Anwar has already served a significant term of imprisonment greater than

10 the majority of sentences imposed on violent offenders and drug traffickers.

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE      28
     Case 4:18-cr-06054-EFS        ECF No. 289      filed 04/05/22    PageID.7527 Page 29 of 36



 1
            D.     Mr. Anwar is at Risk of Severe Illness or Death from COVID-19
 2

 3          According to recent communications from Mr. Anwar with the undersigned, he

 4 initially refused to be vaccinated because information at the time did not affirmatively

 5 indicate the vaccine was safe for cancer patients. However, Mr. Anwar has submitted a

 6 several written “cop-outs” to be vaccinated since at least January 4, 2022, for

 7 either the Moderna or Pfizer vaccines, but has yet to receive the vaccine.

 8          Mr. Anwar has only been provided with a cloth mask that he has had to wash

 9 repeatedly as FCI Sheridan apparently is out of additional masks. Masking is not enforced

10 at the institution with respect to either inmates or staff. Mr. Anwar is currently housed in

11 Building 3A, which has 120 inmates of which roughly 60 inmates are rotated in from other

12 units and facilities every two weeks. He is housed in a two-man cell locked down 13 to 14

13 hours each day due to the pandemic. Thus, given the constant flow of inmates, Mr. Anwar

14 is necessarily prone to becoming infected. The conditions Mr. Anwar reports are

15 independently corroborated by Dr. Stuart Grassian in his declaration in support of a class

16 action brought by inmates against the Warden of FCI Sheridan.65

17          Additionally, testing is barely being performed and infrequently so. Testing is only

18 performed for new inmates who get transferred from different facilities. As long they are

19 not symptomatic, these new inmates will be released into the general population within a

20 few days, which hardly constitutes a sufficient quarantine time.

21          Mr. Anwar was last tested last year when he was severely ill with COVID-19,

22 throwing up blood every day. He had blood clots in his arms and legs, which is not

23 mentioned in his medical history despite several written cop-outs attesting to the same.

24 Nor is the fact that he is allergic to Penicillin. If he is given penicillin, he will go into

25 anaphylactic shock.

26          According to Dr. Thomas E. McNalley, a board-certified physician in adult and

27
            65
28             See Stirling v. BOP, et al., 3:20-cv-00712-SB (D. Or. Aug. 13, 2021) (Declaration of Dr.
     Stuart Grassian) (Doc. 72-2), attached as Ex. 4.
       EMERGENCY MOTION FOR COMPASSIONATE RELEASE        29
     Case 4:18-cr-06054-EFS    ECF No. 289     filed 04/05/22   PageID.7528 Page 30 of 36



 1 pediatric physical medicine and rehabilitation, and in hospice and palliative medicine,

 2 who is an associate professor of pediatrics at the University of California, San Francisco,

 3 and former associate professor of rehabilitation medicine at the University of Washington,

 4 Mr. Anwar suffers from papillary thyroid carcinoma, and Type 2 diabetes. See Ex. 2

 5 (Medical Evaluation of Sami Anwar’s BOP Medical Records). Both are recognized CDC

 6 risk factors.66 Dr. McNalley also notes concern that Mr. Anwar remains unvaccinated

 7 against COVID-19.

 8         Because he is not fully vaccinated, Mr. Anwar “is at increased risk of having a

 9 severe clinical course which could include long-term hospitalization, persistent damage to

10 vital organs including lungs, heart and brain (so-called “long covid”) and death because of

11 his underlying medical conditions.” Id. at 2.

12         Additionally, Dr. McNalley notes that “[t]here is evidence of Mr. Anwar not

13 receiving care in a timely fashion for a new diagnosis of cancer.” Id. at 3. As Dr. McNalley

14 details:

15
                 Mr. Anwar has experienced deleterious delays in care. He has had
16               throat swelling for over 2 years and had abnormalities noted on
                 CT scan in April of this year. It took another two months before
17               he received a biopsy. He was then seen by an oncologist 3 weeks
                 later. It took an additional 4 weeks after that before he saw an
18
                 ear, nose and throat specialist. As of this writing, I do not see any
19               documentation that he was ever evaluated by a thyroid surgical
                 specialist. The implications for his cancer recovery remain to be
20               seen—papillary thyroid cancer generally responds well to
                 treatment, if the type of thyroid cell involved is responsive to
21
                 treatment, or it is detected early and has not spread to other parts
22               of the body. Additionally, for a person with an anxiety disorder,
                 delays in the diagnosis and treatment of cancer could cause
23               particularly significant emotional trauma. It is a reasonable
                 medical conclusion that Mr. Anwar’s panic attack in April and the
24
                 emergency room evaluation in August are related to worries
25               about his health generally and his cancer diagnosis specifically.

26

27

28         66
             See https://www.cdc.gov/coronavirus/2019-ncov/needextra-precautions/people-
     with-medical-conditions.html.
      EMERGENCY MOTION FOR COMPASSIONATE RELEASE 30
     Case 4:18-cr-06054-EFS       ECF No. 289      filed 04/05/22   PageID.7529 Page 31 of 36



 1          Confined to his home, as opposed to living in an open-air dormitory, the chances of

 2 Mr. Anwar contracting COVID-19 are dramatically reduced. Furthermore, he will be able

 3 to continue his medical treatment outside the confines of the federal prison.

 4          There is nothing to indicate that the BOP is even remotely equipped to provide

 5 adequate medical care to Mr. Anwar in a correctional environment that has had to

 6 dramatically reorganize its internal procedures during an unprecedented pandemic.

 7 Indeed, it has been well-documented that the BOP has not been able to provide adequate

 8 medical care even before the pandemic. As the Office of Inspector General has found,

 9 there is “limited institution staff and inadequate staff training that affect the BOP’s

10 ability to address the needs of aging inmates. The physical infrastructure of BOP

11 institutions also limits the availability of appropriate housing for aging inmates.”67 In a

12 separate report, “[t]he OIG found that recruitment and retention of medical professionals

13 is a serious challenge for the BOP, in large part because the BOP competes with private

14 employers that offer higher pay and benefits. We further found that the BOP has not

15 proactively identified and addressed its medical recruiting challenges in a systemic way.

16 Rather, it has attempted in an uncoordinated fashion to react to local factors influencing

17 medical recruiting at individual institutions.”68 The only thing that has changed since

18 these reports were issued is that matters have gotten demonstrably worse due to the

19 pandemic.

20          As federal courts recognized early on in the pandemic,
21
                   It is apparent that we should not be adding to the prison
22                 population during the COVID-19 pandemic if it can be avoided.
                   Several recent court rulings have explained the health risks—to
23                 inmates, guards, and the community at large—created by large
                   prison populations. Complications have already begun inside
24                 federal prisons—inmates and prison employees are starting to
                   test positive for the virus, quarantines are being instituted, visits
25                 from outsiders have been suspended, and inmate movement is
                   being restricted even more than usual. To avoid adding to the
26
           67
27 Bureau ofOfc.   of Insp. Gen., Dep’t of Justice, The Impact of an Aging Inmate Population on the Federal
              Prisons i (Rev. Feb. 2016), available at https://oig.justice.gov/reports/2015/e1505.pdf.
           68
28            Ofc. of Insp. Gen., Dep’t of Justice, Review of the Federal Bureau of Prisons’ Medical
   Staffing Challenges i-ii (Mar. 2016), available at https://oig.justice.gov/reports/2016/e1602.pdf.
     EMERGENCY MOTION FOR COMPASSIONATE RELEASE          31
     Case 4:18-cr-06054-EFS        ECF No. 289      filed 04/05/22    PageID.7530 Page 32 of 36


                   complications and creating unnecessary health risks, offenders
 1                 who are on release and scheduled to surrender to the Bureau of
                   Prisons in the coming months should, absent extraordinary
 2                 circumstances, have their surrender dates extended until this
                   public health crisis has passed.
 3

 4 United States v. Powell, No. 19-cr-00061, 2020 U.S. Dist. LEXIS 62077, *1-*2, 2020 WL

 5 1540485 (N.D. Cal. Mar. 27, 2020) (Illston, J.); United States v. Huang, No. 19-cr-00110,

 6 2020 U.S. Dist. LEXIS 58355, *1-*2, 2020 WL 1540483 (N.D. Cal. Mar. 27, 2020) (Illston,

 7 J.); United States v. Garlock, No. 18-cr-00418, 2020 U.S. Dist. LEXIS 53747, *1-*2, 2020

 8 WL 1439980 (N.D. Cal. Mar. 25, 2020) (Chhabria, J.). That remains the case today.

 9          According to Mr. Anwar, he was recently hospitalized for being unresponsive
10 related to vertigo and possibly syncope. The staff at FCI Sheridan did not appear to be

11 properly trained how to handle such a situation and so began performing CPR without

12 first securing and clearing his airway, checking and restoring breathing, and checking and

13 maintaining circulation. At FCI Sheridan, there is no emergency medication other than

14 an AED machine to shock the heart while performing CPR. The Problem is staff do not

15 appear to know when to use the AEDA and under what conditions. Mr. Anwar could hear

16 a nurse shouting “not another death on my shift! No Anwar stay with us Buddy! Anwar

17 stay with us!”

18          Mr. Anwar had to be rushed to the local hospital where he was placed in the ER for
19 hours. Hospital staff performed a contrast CT with Radioactive Iodine and tried to insert

20 a catheter but were unsuccessful because Mr. Anwar’s whole body was in a tonic non-

21 responsive condition. The neurologist and the ER doctor said they have not encountered a

22 case like this before and most likely it was due to his cancer.

23          E.     Mr. Anwar Presents No Current Danger to the Community
24          Mr. Anwar is an older inmate with zero criminal history in significantly failing health. He has
25 fully complied with his conditions of confinement. There simply is no evidence that he presents any

26 danger to the community. Should this Court grant the instant motion, he will live at his home while

27 continuing his medical therapy and seeking gainful employment under the supervision of this Court.

28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE        32
     Case 4:18-cr-06054-EFS       ECF No. 289       filed 04/05/22   PageID.7531 Page 33 of 36



 1          F.     Violent Offenders and Sex Offenders Have Received Compassionate Release
 2          Finally, as serious as Mr. Anwar’s conduct was, it does not preclude this Court from granting

 3 him compassionate release. Courts across the country have granted compassionate release to not only

 4 violent and sex offenders, but recidivists. See, e.g., United States v. Raymonde, No. 11-cr-000490, 2021

 5 U.S. Dist. LEXIS 208092, 2021 WL 5014499 (D. Colo Oct. 28, 2021) (granting compassionate release

 6 to violent recidivist in CHC VI who had been sentenced to 216 months but had served only 57% of

 7 sentence of imprisonment); United States v. Jacques, No. 16-20759, 2021 U.S. Dist. LEXIS 146709,

 8 2021 WL 3422356 (E.D. Mich. Aug. 5, 2021) (granting compassionate release to sex offender sentenced

 9 to 96 months but who had only served 38 months); United States v. Wheelock, No. 13-136, 2021 U.S.

10 Dist. LEXIS 99684, 2021 WL 2143136 (D. Minn. May 26, 2021) (granting compassionate release to sex

11 offender sentenced to 180 months who had only served approximately 84 months); United States v.

12 Miller, No. 17-cr-404, 2020 U.S. Dist. LEXIS 241244, 2020 WL 7641289 (N.D. Ill. Dec. 22, 2020)

13 (granting compassionate release to child pornography offender sentenced to 84 months who had served

14 42 months); United States v. Magnuson, 15-cr-50095, 2020 U.S. Dist. LEXIS 233817, 2020 WL

15 7318109 (D.S.D. Dec. 11, 2020) (granting compassionate release to attempted child sex trafficker

16 sentenced to 72 months who served only 54 months); United States v. Fields, No. 12-cr-20274, 2020

17 U.S. Dist. LEXIS 229692, 2020 WL 7225775 (E.D. Mich. Dec. 8, 2020) (granting compassionate

18 release to armed career criminal sentenced to 180 months who had served 110 months).

19          At the very least, this Court should recommend to the BOP that it transfer Mr. Anwar to home

20 confinement, which this Court has the authority to do. See 18 U.S.C. § 3621(b)(4). The Court may issue

21 an order recommending Mr. Anwar’s federal sentence be served on home confinement. Alternatively,

22 the Court also has the authority to issue a Statement of Reasons (SOR) pursuant to 28 U.S.C. § 944(w).

23 Indeed, the use of an SOR is often a preferred vehicle and better practice for communicating the Court’s

24 intent to the BOP. In particular, the USA Patriot Improvement and Reauthorization Act of 2005, Pub. L.

25 109-177, 120 Stat. 192 (2006), amended 28 U.S.C. § 994(w) to require that the reasons for the sentence

26 imposed in every case be “stated on the written statement of reasons form issued by the Judicial

27 Conference and approved by the United States Sentencing Commission.” 28 U.S.C. § 994(2)(1)(B).

28 Thereafter, the Judicial Conference issued, and the Sentencing Commission approved Form AE 245B,

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE       33
    Case 4:18-cr-06054-EFS        ECF No. 289      filed 04/05/22   PageID.7532 Page 34 of 36



 1 which was revised in February 2016. Section 184 of the revised form provides in relevant part:
                  Additional Comments or Findings “comments or factual findings
 2                concerning any information in the presentence report, including information
 3                that the Federal Bureau of Prisons may rely on when it makes inmate
                  classification, designation, or programming decisions.”
 4
           Chapter VI of Publication 107, the U.S. Probation Monograph published by the Administrative
 5
   Office of the Courts, addresses the use of a criminal judgment’s statement of reasons section to convey
 6
   pertinent prison-related information to the BOP:
 7
                  The Statement of Reasons, togethers with the presentence report, is relied
 8                upon by staff at the Federal Bureau of Prisons to make inmate classification,
                  designation, and programming decision. Bureau staff look to the Statement
 9
                  of Reasons for court findings – that differ from the tentative findings in
10                presentence reports – as they relate to controverted guideline applications
                  (e.g., specific offense characteristics or other adjustment) and nonguideline
11                related (e.g., prior history of sexual misconduct, escapes, violence,
                  immigration status, threats against government officials) issues.
12
           Chapter VI continues, addressing the interplay between how information is provided to the BOP
13
   via the Statement of Reasons: “Courts are encouraged to adopt procedures to ensure that the Statement
14
   of Reasons is used to transmit all findings both guideline and non-guideline related – to the Bureau of
15
   Prisons.”
16
   IV.     CONCLUSION
17
           Mr. Anwar has now served a sufficient term of incarceration. His age and underlying, precarious
18
   health conditions make his exceedingly susceptible to COVID-19 for which the BOP can neither
19
   adequately protect his from nor treat. Furthermore, as the CDC’s study of FCI Texarkana unequivocally
20
   demonstrated, any vaccination will only provide a temporary prophylactic at best and will not
21
   necessarily prevent his from becoming ill or worse even assuming it has a sufficient supply, which it
22
   does not. As Mr. Anwar poses no danger to the community, under these circumstances, he has served
23
   long enough. See, e.g., United States v. Holden, No. 2:16-cr-9, 2020 U.S. Dist. LEXIS 205520, *4 (N.D.
24
   Ga. Aug. 18, 2020) (granting compassionate release to career drug offender who suffered from several
25
   medical ailments, “presents no danger to the community,” and where “the objectives set forth in §
26
   3553(a)(2) can be adequately served and accomplished through the custodial sentence already served
27
   and a four-year term of supervised release”).
28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE      34
     Case 4:18-cr-06054-EFS       ECF No. 289      filed 04/05/22     PageID.7533 Page 35 of 36



 1          Accordingly, Mr. Anwar respectfully prays that this honorable Court grant the instant motion to

 2 allow his to begin to serve his term of supervised release, which already is conditioned on six months’

 3 home confinement which this Court may extend.

 4

 5   Dated: April 4, 2022.                                  ALAN ELLIS
 6

 7                                                          /s/ ALAN ELLIS
                                                            ALAN ELLIS
 8

 9
                                                            JEFFRY K. FINER
10

11                                                          /s/ Jeffry K. Finer
                                                            JEFFRY K. FINER
12
                                                            Attorneys for Defendant
13
                                                            SAMI ANWAR
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE       35
     Case 4:18-cr-06054-EFS         ECF No. 289       filed 04/05/22    PageID.7534 Page 36 of 36



 1                                        CERTIFICATE OF SERVICE

 2          I hereby certify that on April 4, 2022, the foregoing EMERGENCY MOTION FOR

 3 COMPASSIONATE RELEASE and MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT

 4 was filed electronically and a copy was served by mail on anyone unable to accept electronic filing.

 5 Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

 6 system or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

 7 Filing. Parties may access this filing through the Court’s CM/ECF System.

 8
                                                           /s/Alan Ellis______________________
 9                                                         ALAN ELLIS
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      EMERGENCY MOTION FOR COMPASSIONATE RELEASE          36
